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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

HSDC- BALTINORE

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ANTONIO SHROPSHIRE, hea mae (i?
Plaintiff Rev'd by:
V.
Civil Action No.
HOME BOX OFFICE, INC.
&

HBO SERVICE CORPORATION

Defendants AGA 2 5-WN ~ Z 34 2.

COMPLAINT

Plaintiff Antonio Shropshire “Shropshire” or “Plaintiff’), appearing pro se, respectfully submits
this Complaint pursuant to Federal Rule of Civil Procedure 7(a), and hereby demands a trial by
jury pursuant to Rule 38(b). Plaintiff alleges as follows:

JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a) because the matter in
controversy exceeds $75,000 and is between citizens of different states.

2. Venue is proper in this forum because the Plaintiff is a citizen of the State of Maryland.
PLAINTIFF
3. Plaintiff, Antonio Shropshire, is currently incarcerated at FCC Yazoo City in Mississippi.

4, He is currently serving a 300-month federal sentence resulting from a 2017 trial—the same
trial that forms the basis of the Defendants’ hit series, We Own This City.

5. The named Defendants are corporations and other businesses commonly known collectively as
“HBO,” or parent companies with direction and control over HBO’s operations and
programming.

6. Defendants are corporations and affiliated media entities responsible for the production,
publication, and distribution of the series: We Own This City.

7. Home Box Office, Inc., HBO Service Corporation, and their affiliates are Delaware
corporations with principal places of business in New York and California.

8. In 2016, former Baltimore Police Sergeant Keith Gladstone participated in a raid on Plaintiff's
girlfriend's home, during which Plaintiff was arrested.

9. In 2021, Random House published We Own This City (hereinafter “the book”), authored by
Justin Fenton, a veteran journalist who previously worked for The Baltimore Sun and is now a

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reporter for The Baltimore Banner. Fenton’s book documents many of the exploits of corrupt
former Detectives Momodu Gondo and Jemell Rayam, as well as other members of the corrupt
Baltimore Gun Trace Task Force.

10. Mr. Shropshire was also mentioned in Fenton’s book, but was not described as being
involved in robberies, retaliation, overdoses, or violent conduct.

11. In 2021, Plaintiff self-published “The Real Shropshire Organization,” a memoir he completed
in 2020.

12. In a separate federal case involving the Baltimore Police Department, former Sergeant Keith
Gladstone was sentenced to 21 months in prison for conspiring to deprive a man of his civil
rights by planting a BB gun at a crime scene to justify excessive force.

13. On April 25, 2022, Defendants released a television miniseries, We Own This City
(hereinafter “the show”), based on the book. However, Defendants added content to the show
that was not covered in the book, nor disclosed or presented during judicial proceedings.

14. Prior to filing this Complaint, Plaintiff mailed a letter directly to Defendants, explaining that
We Own This City caused harm through its false and defamatory portrayal of his identity. The
letter also stated that the show used material taken from Plaintiff’s memoir.

15. Plaintiff is identified by name, Antonio Shropshire, and nickname ("Brill") in episodes one,
two, and six. His name was used without his consent.

DEFAMATION OF CHARACTER
A. BUMBLEBEE BAGS

16, In Episode 1 (timestamp 16:08-16:19) of We Own This City, the character modeled after
Detective David McDougall is shown speaking with another detective as they leave the scene of
a fatal overdose. During the exchange, the dialogue suggests that the overdose was caused by a
narcotic product referred to as “Bumblebee bags.”

McDougall: “Well, whoever this Anderson guy is, he's dealing Shropshire's product. Those
bumblebee bags are Shropshire’s sig.”

Detective: “Man, this shit is laying people out.”

17. This dialogue implies that Shropshire (referred to in the show by name} is directly
responsible for overdoses—or at a minimum, for heroin causing overdoses, Specifically:

“Bumblebee bags are Shropshire’s sig.” -This falsely assigns a brand or signature packaging to
him, insinuating that he sold or had someone selling a product that caused overdoses.

18. “This shit is laying people out.” — This implies overdose or death directly tied to that
product—and by extension, to Shropshire.

19. The show falsely implies Shropshire sold drugs to Anderson or that Anderson worked for
him. This fictional portrayal links Shropshire to deadly drugs and public harm, damaging his
reputation, fueling public outrage, and undermining his credibility in legal and personal
matters—claims never supported by trial evidence or court findings.

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B. THE CLUB SCENE

20. Also in Episode 1 (timestamp 41:24—42:35), the character based on "Shropshire" is shown in
reputation, and falsely links him to criminal conduct he was never accused or convicted of.

C. THE ANDERSON INTERROGATION

22. In Episode 2 (timestamp ~13:40-13:55), the character based on "Anderson" has 2
conversation with federal investigators in what seems to be an interrogation room:

Kilpatrick: “Tell us about Shropshire.”

Anderson: “Man, I cut him loose months ago. Man, he Brill to me. I get my stuff elsewhere
now.”

Smith: “How'd you two communicate?”
Anderson: “Call him and we meet.”
Smith: “Can you go back to him?”

Anderson: “Hell no, you know Brill had Twan and Munch kick my door in about two weeks
ago. That's why I switched up and moved to the Red Roof.”

McDougall: “We saw your door got kicked in. You think that was
Shropshire's people who did that?”

Anderson: “Hell yeah. But you know something? I wouldn't say anything at all if y'all were city
cops. Cause Brill. Brill tight with a cop he grew up with, name G-money, works in narcotics.”

23. The scene is entirely fabricated. There is no evidence that Anderson bought drugs from
Shropshire or that Shropshire sent anyone to harm him. It falsely links Shropshire to violence
and witness intimidation, damaging his credibility and harming his legal and public reputation.
D. ARREST SCENE

24. In Episode 6 (timestamp 30:00-31:25), the Defendants depict the arrest of the Plaintiff:
Detective Scott Kilpatrick: “Antonio Shropshire!”

Shropshire: “Who y'all?”

Kilpatrick: “Baltimore County narcotics, but it's a federal warrant.”

Shropshire: “Federal huh!”

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Detective David McDougall: “Yeah, we've been up on you for like a year and a half, so uh it's a
real pleasure to finally meet you in person.”

Shropshire: “Can't say the same. What's the warrant for?”
Kilpatrick: “Conspiracy to distribute.”
Detective: “What do we have here?”

McDougall: Well, whoever this Anderson
(Detective finds drugs on Shropshire's character)

Kilpatrick: “Oh, look at that.”

Shropshire: “See, that's just bad luck right there. Had it in my pocket ‘cause somebody
complained and handed it back to me.”

McDougall: “That's very sloppy, Brill. Bless your heart. You wanna call your fiancée and let her
know what's going down?”

Shropshire: “Yeah, her number 4-4-...”
McDougall: “No, no, I got it.”
Kilpatrick: Chuckles

Shropshire: “Y'all got me on tap, huh?”

Ramona: “Hey boo, why the hell y’all wake me up?”
(The lady talks on McDougall’s phone.)

Shropshire: “Y’all mothafuckers cruddy, yo. Y’all know I got popped by the city last week,
right?”

Kilpatrick: “Yup, Gladstone squad. We got a superseding indictment.”

Shropshire: “Y’all working hard here. But if I were y’all, I'd get rid of the shit you just took off
me, use an informant or some shit like that to put it on the street—get something nice for your
wives, Shit, Gladstone took it. I shit you not.”

25. Shropshire never made any statements to law enforcement or county detectives about
Gladstone taking bribes or reselling narcotics. There is no support for this in trial transcripts,
police reports, or the book We Own This City. This false depiction suggests he implicated others
to protect himself, which is dangerous in both prison and street culture, and severely damages his
reputation, integrity, and safety.

II. COPYRIGHT INFRINGEMENT
A, BUMBLEBEE BAGS SCENE

26. The Defendants copied several distinctive creative elements from Plaintiff’s book, The Real
Shropshire Organization.

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27. In the chapter “According to the Government,” page 81, the Plaintiff explains how drug
addicts would cail him looking for yellow-colored heroin. Through his own observation, he
discovered that the yellow heroin was coming out of his neighborhood.

In We Own This City, Episode 1, at 16:08-16:19:

McDougall: “Well, whoever this Anderson guy is, he's dealing Shropshire's product. Those
bumblebee bags are Shropshire's sig.”

28. Shropshire’s book includes original descriptions of heroin, including color, Defendants took
his reference to yellow heroin and turned it into “bumblebee bags” in the show. This is not just
an idea—it’s a protected expression, used without permission.

B. SOMEBODY COMPLAINED

29. In The Real Shropshire Organization, chapter “The Last Three Days of Freedom,” pages 2-3,
the Plaintiff gives an original narrative describing the circumstances surrounding his
arrest—specifically, why he possessed narcotics at that moment. In that chapter, Plaintiff
recounts a detailed and nuanced situation in which someone returned drugs to him due to
dissatisfaction with its quality. Plaintiff specifically wrote:

“My timing is always crazy, so I just dropped off the coke and told him I'll get the money later.
When I went to get the money that Tuesday night, he said he cooked up 62 grams and it was
something he didn't like about it. He paid me for the 62 grams and gave me the rest back.”

30. This specific explanation—having drugs returned due to dissatisfaction—is not part of any
publicly available trial record, official transcripts, or other public domain sources, Instead, this is
uniquely expressed and detailed exclusively in Plaintiff’s published memoir, reflecting personal
and private context only known by the Plaintiff.

31. In HBO’s We Own This City, Episode 6 (timestamp 30:00-31:10), a nearly identical scenario
is depicted:

Shropshire: “See, that's just bad luck right there. Had it in my pocket ‘cause somebody
complained and handed it back to me.”

32. This scene replicates the unique narrative context from Plaintiff's book—an individual
returning narcotics due to dissatisfaction, resulting in the Plaintiff unexpectedly having them on
his person during an arrest. While the dialogue in the show is modified slightly, the core
natrative scenario, specific reason, and expressive content closely mirror Plaintiff’s original
storytelling choice.

33. Importantly, HBO did not source this distinctive scenario from trial transcripts, police
records, or court evidence—all of which lack any mention or documentation of such reasoning or
interaction. Thus, it clearly originated solely from Plaintiff’s protected literary expression.

34. This unauthorized usage is not transformative, does not serve a fundamentally different
expressive purpose, and directly appropriates original, creative, and expressive storytelling from
Plaintiff’s published work.

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C. ARREST SCENE

35. In The Real Shropshire Organization, chapter “The Last Three Days of Freedom,” pages 7-8,
Mr. Shropshire gives a first-person account of his arrest, including a detailed
exchange about calling his fiancée:

“Before we could make it out the shopping center, Jimmy [McDougall] said, ‘Do you want to
call Kelly?’ I laughed and replied, ‘Yeah.’ ... ‘What’s the number?’ he asked. I replied,
‘443-7#%’ and before I could say the rest, he said ‘#%71’ and looked at me with this ‘I know
everything about you, Brill,’ look on his face.”

36. In the show, Episode 6 (timestamp 30:00—31:25), the Defendants depicted the same scene
from the Plaintiff’s book:

McDougall: “You wanna call your fiancée and let her know what's going down?”
Shropshire: “Yeah, her number 4-4-....”

McDougall: “No, no, I got it.”

37. This interaction was copied nearly verbatim in HBO’s dramatization, with only superficial
changes in dialogue. The rhythm, sequencing, tone, and emotional impact—particularly
McDougall asking the Plaintiff if he wanted to call his fiancée—are all elements detailed in “The
Last Three Days of Freedom.” The show preserved these in a manner that mirrors the original
copyrighted narrative.

D. THE GLADSTONE SCENE

38. In Plaintiff’s book, chapter titled “We Living With Corruption,” pages 105-106, Plaintiff
recounts a highly aggressive and unconstitutional search of his girlfriend’s house, carried out by
former Baltimore City Detectives Robert Hankard and Keith Gladstone. He describes Gladstone
as overly familiar...

39. During the search, Plaintiff writes that he and Gladstone engaged in a casual conversation,
where Gladstone appeared overly familiar. Plaintiff further explains that he suspected corruption
throughout the encounter.

40. In Episode 6 (timestamp 30:30-31:20), Plaintiff is depicted as saying:
Shropshire: “Shit, Gladstone took it. I shit you not.”
Smith: “Shropshire told county police that Gladstone took and resold seized narcotics.”

41, The creative construction of the HBO scene is materially similar to a distinctive section from
Mr. Shropshire’s published work in We Living With Corruption. In a moment of internal
contemplation, the Plaintiff admits to briefly thinking about offering Gladstone a bribe, as he
explains in his memoir—but clearly states he never acted on it. Court records show that
Shropshire was, in fact, arrested by Hankard and Gladstone.

42, HBO distorted this internal reflection into a dramatized exchange that falsely implies Mr.
Shropshire did, in fact, offer a bribe—and that Gladstone accepted it. This portrayal is entirely
fictional and never occurred. By adapting this private, protected expression into a public

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dramatization of criminal conduct, HBO infringed upon Mr. Shropshire’s copyright and defamed
his character through a knowingly false portrayal:

E. TRIPARTITE STRUCTURE — UNLAWFUL COPYING OF NARRATIVE FLOW

43, In The Real Shropshire Organization, chapter “We Living With Corruption,” pages 105-106,
Plaintiff presents a specific, original narrative structure:

Gladstone’s corrupt behavior and street reputation;
His mentorship of Wayne Jenkins; and ,
The eventual use of BB guns to cover up police violence.

44, This chronological and thematic arrangement—Gladstone — Jenkins ~ BB gun—is not
merely a list of facts. It is Plaintiff's personal, expressive organization of events, intended to

expose a deeper connection between systemic corruption and specific actors in the Baltimore
Police Department.

45. In We Own This City, Episode 6 (timestamp 30:20-32:40), Defendants depict a scripted
conversation in which AUSA Andrea Smith states, “Shropshire told county police that Gladstone
took and resold seized narcotics,” further explaining that Gladstone “extensively worked with
Jenkins.” Immediately after, a Baltimore detective says, “Kind of an early mentor.” Without
pause, the conversation then pivots directly into a discussion of BB guns recovered after the
arrests of Hendrix and Rayam, implying that these fake weapons were routinely used by officers
to justify questionable shootings.

46. This tripartite structure—{(1) Gladstone’s corruption, (2) his mentorship of Jenkins, and (3)
the BB gun cover-up—is a direct lift of Plaintiff’s narrative flow and expressive framing.
Although each individual fact may exist in public records, the specific linkage, sequencing, and
attribution of this storyline through Shropshire’s voice is not. Defendants appropriated Plaintiffs
creative structure and repackaged it as dramatized content without credit, consent, or license.

47, The result is a derivative dramatization that unlawfully copies Plaintiff's literary expression,
violating copyright protections under 17 U.S.C. § 106 and misrepresenting Plaintiffs original
work to the public. The scene constitutes both infringement and false attribution, as it implies
that Plaintiff made public statements or confessions he never made.

Ill. FEDERAL COURT DOCUMENTS

48. Contrary to the show’s portrayal, federal court transcripts in United States v. Shropshire,
Case No. 1:16-cr-00051-SAG, show that:

a. ECF No. 403, Transcript Pages 53-56: The Court explicitly restricted any witness from
identifying Shropshire in relation to the robbery.

b. On ECF No. 403, Pages 137-142: Gondo’s testimony establishes that the planned robbery
originated from Washington, who introduced it to Wells. There was no mention of the Plaintiff.
No testimony implicates Plaintiff in the planning, direction, or participation in the robbery.

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c. On ECF No. 403, Pages 149--150: The heroin, Rolex watch, and cash taken in the robbery
were split between Gondo, Wells, Rayam, and Washington. Shropshire is not mentioned in any
context of receiving proceeds, issuing instructions, or being involved.

d. On ECF No. 354, Page 2: The Honorable Catherine C. Blake went against the government's
request to hold Shropshire as the leader. “No enhancement for lead/organizer was imposed.”

49, The Defendants have previously faced similar complaints. (See Shanea Daniels v. Home Box
Office, Case No. 1:23-cv-00233-ELH, District of Maryland.) Daniels alleged the Defendants
falsely portrayed her as a sex worker in We Own This City—claims she says were entirely
fabricated.

COUNT 1: DEFAMATION
(All Defendants, Jointly and Severally)

50. Paragraphs 1-49 are hereby incorporated into the Court as if restated here.

51. In writing, directing, and producing the show to depict real criminal acts of the Plaintiff and
real interactions with other characters, Defendants knew, or should have known, that a
reasonable viewer would believe the portrayal of those events to be a factual and accurate
representation of the actions of the real people upon whom the characters were based.

52. Plaintiff Antonio “Brill” Shropshire is a real individual who was identified by name and
likeness in the HBO series We Own This City, which was promoted as a truthful dramatization
based on real events and public records.

53. Defendants published false and defamatory statements about Plaintiff, including fabricated
scenes and dialogue that portrayed him as:

a. supplying fatal narcotics to overdose victims;

b. being involved in fictional criminal schemes such as robbery of drug dealers alongside
Baltimore cops;

¢, participating in conduct that would seriously harm his reputation in both the public and prison
community.

54. These statements and portrayals were not taken from trial transcripts, official court
documents, or Plaintiff’s own published work. Rather, they were knowingly or recklessly
fabricated and presented as fact.

55. Defendants published the false statements to a worldwide audience by releasing the show on
the HBO cable network and HBO-controlled online streaming services.

56, The false portrayal of Plaintiff has caused serious harm to his reputation, exposed him to
public contempt, subjected him to increased risk of harm while incarcerated, and undermined his
credibility in ongoing legal and personal matters.

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57. As a direct result of the defamatory content published by Defendants, Plaintiff has suffered
reputational damage, emotional distress, humiliation, and economic loss, and will continue to
suffer such damages.

COUNT 2: COPYRIGHT INFRINGEMENT
(All Defendants, Jointly and Severally)

58. Plaintiff Antonio Shropshire is the author of The Real Shropshire Organization, a book
completed in 2020 and published in 2021. The book contains original expressions, scenes,
dialogue, and detailed narrative accounts based on his personal life and experiences.

59, Plaintiff holds the exclusive rights to the contents of his book, including the right to
reproduce, distribute, and publicly display the work, as protected under the Copyright Act of
1976, 17 U.S.C. § 101 et seq.

60. Defendants, without permission or license, used original material from Plaintiff’s book in the
HBO series We Own This City, including but not limited to:

a. unique narrative scenes depicting Plaintiff’s arrest;
b. specific phrases and dialogue not found in court records;
c. dramatized content that mirrors Plaintiff’s personal storytelling structure and literary style.

61. These elements are not part of the public record and originate solely from Plaintiff's
protected work. Defendants had access to this material through its publication and subsequent
distribution, and knowingly incorporated it into a commercial production without authorization.

62. The use of Plaintiff’s original content was substantial, and not incidental or transformative.
Defendants used these elements in 2 manner that was not fair use, and directly profited from their
inclusion in a globally distributed series.

63. As a direct result of this unauthorized use, Plaintiff has suffered and continues to suffer actual
damages, including loss of exclusive control over his work, diminished credibility, reputational
harm, and emotional distress.

COUNT 3: NEGLIGENCE
(All Defendants, Jointly and Severally)

64. Defendants produced, wrote, and distributed a television series—We Own This City—based
on real people and real events. They promoted it as a factual dramatization.

65. In doing so, Defendants owed a duty of care to individuals depicted or reasonably
identifiable in the series, including Antonio Shropshire (Plaintiff), to portray events accurately
and to avoid fabricating harmful or defamatory content.

66. Defendants breached this duty by attributing false and damaging statements to Plaintiff,
including portraying him as cooperating with law enforcement, selling deadly drugs to overdose
victims, and being linked to violent or sensationalized conduct never supported by trial records.

67. Defendants failed to take reasonable steps to fictionalize or sufficiently alter the story ina
way that would prevent misidentification or reputational harm to Plaintiff.

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68. Defendants exaggerated content from Plaintiff’s book, added false scenes and dialogue, and
tied his name to fictional events—without consent.

69. This caused reputational harm, emotional distress, legal setbacks, and increased risk to
Plaintiff’s safety.

REQUESTED REMEDIES

For the causes of action described herein, Plaintiff respectfully requests that this Honorable
Court enter a judgment ordering Defendants to pay Plaintiff the following:

A. Compensatory damages in the amount of $3,000,000.00 (three million dollars);
B. Punitive damages in the amount of $10,000,000.00 (ten million dollars);
C. Pre- and post-judgment interest;

D. An order requiring Defendants to issue a public retraction and correction of the false
information;

E. Any other remedy deemed appropriate by the Court.

TED: July 18, Loh
Respectfully submitted,
Antonio Shropshire

Plaintiff, Pro Se

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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

Antonio Shropshire,

Plaintiff,

v.

Home Box Office, Inc. znd HBO Service Corporation,
Defendants.

CERTIFICATE OF SERVICE

I hereby certify that on this 18th day of July, 2025, I caused a true and correct copy of the Complaint for
Defamation, Copyright Infringement, and Negligence to be served upon the Defendants via electronic
mail to their legal department.

pectiully submit

fst Vibrece Zt

Antonio Shropshire, Pro Se
FCC Yazoo City — Medium
Federal Register No, 62637-037

